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                                                                        FILED
                                                         January 31, 2024
                      UNITED STATES DISTRICT COURT     CLERK, U.S. DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS      WESTERN DISTRICT OF TEXAS

                            AUSTIN DIVISION                           ps
                                                   BY: ________________________________
                                                                                  DEPUTY

LAS AMERICAS IMMIGRANT                     §   No. 1:23-CV-1537-DAE
ADVOCACY CENTER, AMERICAN                  §
GATEWAYS, and COUNTY OF EL                 §
PASO, TEXAS,                               §
                                           §
               Plaintiffs,                 §
                                           §
vs.                                        §
                                           §
STEVEN C. MCCRAW, in his official §
capacity as Director of The State of       §
Texas Department of Public Safety, and §
BILL D. HICKS, in his official capacity §
as District Attorney for the 34th District,§
                                           §
               Defendants.                 §
________________________________

                                       ORDER

      Before the Court is Defendants’ Unopposed Motion to Consolidate Cases

filed on January 19, 2024. (Dkt. 38). In their motion, Defendants request that the

Court consolidate this case with the related action, United States v. Texas, No. 1:24-

CV-8-DAE, (W.D. Tex. filed Jan. 3, 2024). Having considered Defendants’ Motion,

the Court agrees that it should be granted.

      IT IS THEREFORE ORDERED that Defendants’ motion, (Dkt. 38), is

GRANTED. This action is consolidated with 1:24-CV-8-DAE, which will be the

lead case. In light of the consolidation, the Clerk of Court shall
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ADMINISTRATIVELY CLOSE 1:23-CV-1537-DAE. All pleadings pertaining to

any of the consolidated proceedings shall henceforth be filed in 1:24-cv-8-DAE.


IT IS SO ORDERED.

DATED: Austin, Texas, January 31, 2024.



                               ______________________________________
                               David Alan Ezra
                               Senior United States District Judge




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